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                                                              Entry       #: 10645
                                                                    ID: 5525303

               United States Court of Appeals
                                For the First Circuit

 No. 10-2145

                                   EFRAT UNGAR ET AL.,

                                     Plaintiffs, Appellees,

                                               v.

                                  YASSER ARAFAT ET AL.,

                                    Defendants, Appellees,
                                     _______________

        THE PALESTINIAN PENSION FUND FOR THE STATE ADMINISTRATIVE
                       EMPLOYEES IN THE GAZA STRIP,

                                      Movant, Appellant.


                                         JUDGMENT

                                   Entered: February 9, 2011

         This cause came on to be heard on appeal from the United States District Court for the
 District of Rhode Island and was argued by counsel.

       Upon consideration whereof, it is now here ordered, adjudged and decreed as follows: The
 judgment of the district court is affirmed.




                                                    By the Court:

                                                    /s/ Margaret Carter, Clerk




 cc: Mr. Matsui, Mr. Kerr, Mr. Strachman, Ms. Maynard, Mr. Sherman, Mr. McElhinny, Mr. Oswald,
 Mr. Joseph V. Cavanagh, III, Mr. Joseph V. Cavanagh, Jr., Ms. Pelcsarski, Ms. Ferguson, Mr.
 McPherson, Mr. Rochon, Mr. Wistow, Mr. Marcaccio, Mr. Hibey & Mr. Tolchin.
